         Case 16-33275       Doc 39      Filed 10/20/20 Entered 10/20/20 14:29:26                     Desc Main
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                                        United States Bankruptcy Court
                                     Northern District of Illinois, Eastern Division

IN RE:    Vernita Gennings                                 )              Chapter 13
                                                           )              Case No. 16 B 33275
          Debtor(s)                                        )              Judge David D. Cleary

                                                 Notice of Motion

    Vernita Gennings                                                      Debtor A ttorney: Lakelaw
    6039 S. Loomis Blvd.                                                  via Clerk's ECF noticing procedures
    Chicago, IL 60636




On November 16, 2020 at 1:00 pm, I will appear before the Honorable David D. Cleary, or any judge sitting in
that judge's place, and present this motion, a copy of which is attached.

This motion will be presented and heard electronically using Zoom for Government. No personal
appearance in court is necessary or permitted. To appear and be heard on the motion, you must do the
following:
     To appear by video, use this link: <https://www.zoomgov.com/>. Then enter the meeting ID and
password.
     To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then
enter the meeting ID and password.
     Meeting ID and password. The meeting ID for this hearing is 161 122 6457 and the password is
Cleary644. The meeting ID and password can also be found on the judge’s page on the court’s website.

If you object to this motion and want it called on the presentment date above, you must file a Notice of
Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the motion
will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the motion in
advance without a hearing.

I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons named
above by U.S. mail or by the methods indicated on or before Wednesday, October 21, 2020.


                                                                          /s/ MARILYN O. MARSHALL
                                                                          MARILYN O. MARSHALL, TRUSTEE
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                                                                )              Case No. 16 B 33275
          Debtor(s)                                             )              Judge David D. Cleary

                          Motion to Dismiss Case for Failure to Make Plan Payments

Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed, pursuant to 11 U.S.C. §1307 [c]
[6], stating:

On October 19, 2016, the debtor filed a petition under Chapter 13 of the Bankruptcy Code which was confirmed by the Court
on January 11, 2017, for a term of 60 months with payments of $875.00.

The status of the debtor's plan is:    Current Month          Cash Due          Cash Received     Payment Default
                                             48               $42,000.00          $38,500.00         $3,500.00

A summary of the 12 most recent receipt items is set forth below:              Report Date: 10/20/2020
                                                                               Due Each Month: $875.00
                                                                               Next Pymt Due: 11/18/2020

    Date           Ref Num            Amount                              Date          Ref Num        Amount
03/19/2019          5713222000           $875.00                      04/29/2019         5812548000       $875.00
06/07/2019          5924200000           $875.00                      07/10/2019         6006153000       $875.00
08/02/2019          6063828000           $875.00                      09/02/2019         6143649000     $1,750.00
10/28/2019          6281885000           $875.00                      11/25/2019         6350337000     $1,750.00
12/23/2019          6424353000         $1,750.00                      01/22/2020         6499381000       $875.00
02/21/2020          6575825000           $875.00                      03/30/2020         6672657000     $1,750.00

WHEREFORE, the Trustee prays that this case be dismissed, and for any and all other relief this court deems just and proper.

Office of the Chapter 13 Trustee                                               /s/ MARILYN O. MARSHALL
224 S Michigan Ave                                                             MARILYN O. MARSHALL, TRUSTEE
Ste 800
Chicago, IL 60604
(312)431-1300
